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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

STEPHEN KENJI LE BROCQ                  §
                                        §
      Plaintiff,                        §
                                        §
     vs.                                §
                                        §      No. 3:18-cv-01423-S
THE CITY OF CARROLLTON, TEXAS;          §
FANNING HARPER MARTINSON BRANDT         §
& KUTCHIN, P.C; a Texas Professional    §
Corporation and THOMAS P. BRANDT,       §
Individually; MERIDETH LADD;            §
SUSAN KELLER; and MARY SCANLON          §
                                        §
      Defendants.                       §


               PLAINTIFF’S BRIEF IN SUPPORT OF HIS
    CONTESTED EMERGENCY MOTION FOR PRELIMINARY INJUNCTION


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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

STEPHEN KENJI LE BROCQ                               §
                                                     §
        Plaintiff,                                   §
                                                     §
       vs.                                           §
                                                     §      No. 3:18-cv-01423-S
THE CITY OF CARROLLTON, TEXAS;                       §
FANNING HARPER MARTINSON BRANDT                      §
& KUTCHIN, P.C; a Texas Professional                 §
Corporation and THOMAS P. BRANDT,                    §
Individually; MERIDETH LADD;                         §
SUSAN KELLER; and MARY SCANLON                       §
                                                     §
        Defendants.                                  §


                 PLAINTIFF’S BRIEF IN SUPPORT OF HIS
      CONTESTED EMERGENCY MOTION FOR PRELIMINARY INJUNCTION



                                  STATEMENT OF FACTS

        What started as a routine request for criminal discovery under Texas Code of Criminal

Procedure Article 39.14, also known as “The Michael Morton Act,” has unfortunately landed the

parties in federal court. The City of Carrollton, Texas (“the City”) is notorious in the legal

community for, inter alia, their fundamental lack of fairness. For that and many other reasons,

many lawyers refrain from representing defendants with cases pending in the Carrollton Municipal

Court. Plaintiff, Stephen Le Brocq, an attorney with a law office and home in Carrollton, was tired

of the City of Carrollton Municipal Court’s Official’s abuse of power, lack of civility, and

irreparable harm suffered by hundreds, if not thousands, of defendants.

        Knowing the way Carrollton operated (contrary to law), Mr. Le Brocq used one of his

cases where his client requested law enforcement videos (body and in-car dash cameras) to bring


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the prosecutors’ illegal conduct to light. On March 1, 2018, Mr. Le Brocq requested discovery

from the State of Texas—directed at the City of Carrollton City Attorney’s Office. The State, as

always, resisted his request for the videos and instead, demanded that Mr. Le Brocq schedule a

meeting with the State and bring a recording device so that he could record a video of the State’s

computer screen or projector. Knowing the Michael Morton Act requires the State to allow

electronic duplication, he refused to “view” or “photograph” the evidence because the plain-

language of the Michael Morton Act makes it clear that the State’s duties are not discretionary.

The statute does not permit the State to pick and choose which portions of the law they wish to

comply with. Mr. Le Brocq further explained that his office maintains hundreds of cases in Texas

and Illinois and the State’s schedule did not work with his, even if he wanted to elect an option for

obtaining his client’s discovery files other than electronic duplication. Electronic duplication

would also allow Mr. Le Brocq to view the Metadata of the officers’ videos—something that

cannot be captured by using an iPhone to record a video of a video. Besides the fact that it is

unlawful not to provide the evidence defendants are entitled to, it is unreasonable to expect a

defense lawyer to hold his or her phone to a computer screen to record a video that could potentially

be hours in length.

        The prosecutor representing the State was unbothered by Mr. Le Brocq’s issues

surrounding their patent violations of the law, noting that it was “unfortunate” for Mr. Le Brocq

that his schedule did not comport with the State’s. Still, eager to get the State in compliance with

the law, Mr. Le Brocq informed the State that he would provide a DVD or flash drive to obtain his

electronic duplicates of the State’s discovery. The State replied that it would be “unreasonable” to

put such devices into the city’s computer system. Mr. Le Brocq attempted to alleviate this

purported concern by offering to provide the same in an unopened package. Instead of replying to




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Mr. Le Brocq’s offer, the State encouraged him to file any motion he deemed necessary with the

court.

          Mr. Le Brocq filed his motion, citing the relevant law and attaching all of his attempts at

obtaining his electronic duplicates on March 7, 2018, and the motion was heard on March 15,

2018. At the hearing, the State sent a different prosecutor to argue the motion. For the first time,

the State argued that it did not have the technology to electronically duplicate the video files in

evidence. Mr. Le Brocq was curious as to why this argument was now being made because when

he told the State he would provide DVD or flash-drive, the State never stated it lacked the

technology to burn the videos—only that they would not. The Court summarily denied Mr. Le

Brocq’s request. He then prepared and filed a Motion for Leave of Court to file Petition for Writ

of Mandamus, Writ of Prohibition, and Request for Emergency Relief in the Texas Court of

Criminal Appeals.     1




          Mr. Le Brocq’s motion in the Carrollton Municipal Court was denied on March 15, 2018,

and he filed his motion before the Texas Court of Criminal Appeals on April 23, 2018. On May 2,

2018, the Texas Court of Criminal Appeals ordered the Municipal Court judge to respond to Mr.

Le Brocq’s allegations. Less than 2 weeks later, on May 15, 2018, the State wrote to Mr. Le Brocq

stating that it “now ha[s] the ability” to download such videos and burn them to flash drives. A

concern that the prosecutor, Mary Scanlon, had never mentioned before. (Exhibit B).

          Mr. Le Brocq was, and is, convinced the State was lying, misrepresenting facts to the

court, and found that his prediction was correct—that the State would change its position once the

illegal policy was removed from the small confines of the City’s judicial system. Being almost

certain that no upgrades had been done to the highly-advanced technology Carrollton already


1
 A copy of this filing is attached hereto as Exhibit A. The Petition includes all e-mails and motions discussed that
caused the filing to be necessary.


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maintained, he filed a Public Information request for documents which would show the purported

upgrade. Carrollton responded with an invoice for over $7,000.00 for their estimate of over 300

hours of labor to find and produce the documentation showing the supposed upgrade that had taken

place within the past three weeks.

          On May 18, 2018, Mr. Le Brocq wrote a letter to the City of Carrollton councilmembers

and Mayor detailing issues within Carrollton’s justice system and requested a meeting to discuss

the issues with them and other attorneys. (Exhibit C). Mr. Le Brocq did not receive a response

from the City. Instead, on May 22, 2018, he received a letter from Defendant law firm Fanning

Harper Martinson Brandt & Kutchin, P.C. written by Defendant Thomas P. Brandt. The letter

stated, “[Mr. Le Brocq’s letter to City Council was] a violation of Rule 4.02 of the Texas

Disciplinary Rules of Professional Conduct. While [they] determine the appropriate course by

which to address [Mr. Le Brocq’s] ethical violation, please cease and desist from contacting

[their] clients directly.” (Emphasis added) (underline in original), see Exhibit D.

          Mr. Brandt further stated that he “represent[s] the City of Carrollton in [the] pending

appellate matter regarding the petition for writ of mandamus before the Texas Court of Criminal

Appeals.”2 Mr. Brandt’s threatening letter lacked any merit and was highly offensive and

constitutionally dangerous. Mr. Le Brocq e-mailed a response stating that “it was represented that

[Mr. Brandt] represent[s] Judge Lyon and The City Attorney’s Office . . . .” (Exhibit E). Mr. Le

Brocq further explained “when [he] addressed the City, it was regarding overall issues within

Carrollton and did not pertain to any case.” Id.



2
  The Mandamus Petition filed in the Texas Court of Criminal Appeals was disposed of on June 27, 2018 pursuant to
Mr. Le Brocq’s Motion to Dismiss for Mootness. It is worth noting that Mr. Le Brocq requested the City’s attorneys
to represent they would keep the new policy that was coincidentally created after Mr. Le Brocq sought relief in a high-
court. They refused, and consequently, Mr. Le Brocq had to expend his time and resources when the City had no
reason not to comply with his requests.


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        Even as of today, neither Mr. Brandt, nor anyone is his law firm, has sent a letter of

representation or filed an appearance for any of the City of Carrollton councilmembers or the

Mayor. Mr. Brandt’s law firm filed appearances for The Honorable Meredith Lyon and the City

Attorney’s Office in the Mandamus matter, only after Mr. Le Brocq requested he do so. Mr. Le

Brocq filed a Motion to Disqualify the law firm and Mr. Brandt due to the obvious issues of joint

representation with a Judge and Prosecutor that clearly undermines our system of justice. Instead

of the State of Texas against Mr. Le Brocq’s client, it was the State of Texas and the Judge versus

Mr. Le Brocq’s client.

        Following the coincidental change in the City’s discovery policy, Mr. Le Brocq sought

written confirmation from the City Attorney’s office that this policy would remain in place. Rather

than providing said confirmation, the City appeared more interested in protracting litigation. Mr.

Le Brocq, realizing that tax-payer dollars were being wasted and that the City acknowledged their

clear error by changing their discovery policy, filed a motion to dismiss for mootness.

          Lately, the Media has picked up interest in what Carrollton and their lawyers have done.

In an apparent effort of retaliation for the negative press that Carrollton has been receiving, the

City announced two weeks ago that they would no longer engage in plea bargaining with attorneys,

save for a few extremely limited circumstances, and effectively deprived all defendants of any

benefit of obtaining legal representation. This was most certainly done to exclude lawyers from

Carrollton since virtually no benefit exists for hiring one now. Plea-bargaining is the way in which

the majority of the cases in our criminal justice system are resolved, and Carrollton has done it for

countless years until their unlawful actions were revealed to the public.

        What is more concerning is the event that transpired less than 2 weeks ago. When Mr. Le

Brocq arrived at his home in Carrollton on Sunday evening, there were two police vehicles




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stationed in front of his home. Mr. Le Brocq called Carrollton dispatch and was advised they could

not provide details as to their reason for being there. The entire street was nearly empty, but these

vehicles happened to be parked in front of Mr. Le Brocq’s home when he did not call for

emergency services and was not at home when they arrived. Mr. Le Brocq eventually spoke to the

officers, who did not answer his question as to why they were present.




         Since Mr. Le Brocq has spent considerable efforts in revealing the truth behind Carrollton

prosecutors’ violations of the law and forced a change their “policy,” he has been met with threats

of being reported to the State Bar of Texas by the private law firm hired by Carrollton, cease and

desist demands, retaliatory policies enacted to discourage Carrollton residents from hiring

attorneys to represent them in criminal proceedings, and police mysteriously at his house. All of

these events occurring back-to-back and not-so-coincidentally following Carrollton’s rise in

popularity on the local news. It is clear that if this injunction is not granted, that Mr. Le Brocq will

suffer irreparable harm.


                                            ARGUMENT

         To obtain a preliminary injunction, Mr. Le Brocq must establish “substantial likelihood

of success on the merits,” “irreparable injury,” “a favorable balance of hardships,” and “no adverse

effect on the public interest.” Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 268



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(5th Cir. 2012); see also FED.R.CIV.P. 65(a). A district court's ultimate decision to grant or deny a

preliminary injunction is reviewed for abuse of discretion. Id. at 267.

   I.      Plaintiff is Likely to Succeed on the Merits because Mr. Le Brocq’s Rights to
           Free Speech, Assembly, and to Petition the Government are Protected by the
           First Amendment.

         The City, through its retained private counsel, without even the pretense of due process,

denied Mr. Le Brocq a basic liberty of a free person: the right to voice his concerns and seek

redress for the actions of city officials. To put a legal gloss on it, Mr. Le Brocq has been denied

(without process) the right to speak and peaceably assemble at city facilities, or to communicate

with the City at all, which others can do on a daily basis. He cannot appear before City Council to

even comment or plead that this unconstitutional ban to be lifted, or even question why the City

chose to threaten him via their private law firm, instead of hearing his concerns and those of other

local attorneys.

         Effectively, Mr. Le Brocq cannot even go to the Police Station and file a criminal

complaint against another citizen. He cannot attend City Council meetings held the first and third

Tuesday of each month in the City Council Chamber at City Hall—not without further retaliation

in addition to that in which he has already experienced.

         As held by the Supreme Court in Southeastern Promotions, Ltd. v. Conrad, 420 U.S. 546,

552-53 (1975):

        [The City’s] action here is indistinguishable in its censoring effect from the official
        actions consistently identified as prior restraints in a long line of this Court's
        decisions. See Shuttlesworth v. Birmingham, 394 U.S. 147, 150-151 (1969); Staub
        v. City of Baxley, 355 U.S. 313, 322 (1958); Kunz v. New York, 340 U.S. 290, 293-
        294 (1951); Schneider v. State, 308 U.S. 147, 161-162 (1939); Lovell v. Griffin, 303
        U.S. 444, 451-452 (1938). In these cases, the plaintiffs asked the courts to provide
        relief where public officials had forbidden the plaintiffs the use of public places to
        say what they wanted to say. The restraints took a variety of forms, with officials
        exercising control over different kinds of public places under the authority of



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       particular statutes. All, however, had this in common: they gave public officials the
       power to deny use of a forum in advance of actual expression.

       The law is clear. Even those whom the City dislikes for “airing the city’s dirty laundry”

have the right to exercise protected First Amendment speech. That right cannot be abridged

without the government showing a compelling state interest, and it can never be abridged

indefinitely.

   a. The City Facilities from Which Plaintiff Has Been Banned Are Traditional Public
      Forums in Which Regulation of Speech Is Subject to Strict Scrutiny.

        “[A] speaker’s right to access government property is determined by the nature of the

property or ‘forum.’” Hays Cnty. Guardian v. Supple, 969 F.2d 111, 116 (5th Cir. 1992). There

are three categories of forums: (1) traditional and designated public forums; (2) limited public

forums; and (3) nonpublic forums. Fairchild v. Liberty Indep. Sch. Dist., 597 F.3d 747, 757-58

(5th Cir. 2010). Traditional public forums include sidewalks, streets, and public places that have

been used for assembly and general communication. Hague v. Comm. for Indus. Org., 307 U.S.

496, 515 (1939). The state can also intentionally create "designated" public forums on other state

property for the same widespread use as traditional public forums. Chiu v. Plano Indep. Sch. Dist.,

260 F.3d 330, 344 (5th Cir. 2001). Regulation of speech in traditional or designated public forums

must pass strict scrutiny with a compelling state interest and narrow tailoring. See SEIU, Local 5

v. City of Houston, 595 F.3d 588, 596 (5th Cir. 2010) (strict scrutiny requires that a restriction be

“necessary to serve a compelling state interest” and “narrowly drawn to achieve that end,” and that

there be no “less restrictive means that would be at least as effective” (internal quotation marks

omitted)).

        Limited public forums, on the other hand, provide "for public expression of particular

kinds or by particular groups." Chiu, 260 F.3d at 346. The government may restrict speech in



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these limited public forums, as long as the regulation "(1) does not discriminate against speech on

the basis of viewpoint and (2) is reasonable in light of the purpose served by the forum." Perry

Educ. Ass'n v. Perry Local Educators' Ass'n, 460 U.S. 37, 46 (1983) ("[T]he State may reserve the

forum for its intended purposes, communicative or otherwise, as long as the regulation on speech

is reasonable and not an effort to suppress expression merely because public officials oppose the

speaker's view."). A restriction based on subject matter "may be permissible if it preserves the

purposes of that limited forum." Rosenberger v. Rector & Visitors of the Univ. of Virginia, 515

U.S. 819, 829 (1995).

        In the instant case, Mr. Le Brocq has been ordered to cease and desist from communicating

with City of Carrollton City Council and the City of Carrollton as a whole. This would include

speaking at public forums (the City Hall complex) and any other limited public forums where

anyone employed by the City is present. In this case, it makes no difference the location. Whether

held to strict scrutiny or a reasonableness test, an absolute ban of a single speaker from public

places, forever, can never be a reasonable restriction on First Amendment speech.

        The City Hall is a traditional public place that has been used for assembly and general

communication in the City. They are also designated public fora. A designated public forum is

created when the government intentionally makes property or a channel of communication

generally open or available to a class of speakers rather than permitting only selective access to

particular speakers who must obtain permission to use it. Arkansas Educ. Television Comm’n v.

Forbes, 523 U.S. 666, 677 (1998).

        Both are places where the City conducts its business, and in order to participate in the

affairs of government, access to City Hall is necessary. The City Hall houses the offices of City

Council members, the Mayor, the City Manager, and the Clerk among other departments and




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offices. City Hall is the location for many City meetings. Visitors to City Hall may come to get

records from the City Clerk, to meet with Council members and the Mayor, to meet with the City

Manager and his assistants, to attend or participate in city meetings, or even just to see artwork or

other displays. All City Council staff maintain offices in City Hall. City Hall is open to the public

from approximately 8am-5pm, with some variation for evening events. Accordingly, in order to

even determine the true agenda of one of the hundreds of open meetings in Carrollton, access to

City Hall is necessary.

            As shown on its website, City Council meetings are held the first and third Tuesday of

each month in the City Council Chamber at City Hall. At that time (and before a group of people

for which Mr. Le Brocq is prohibited from speaking) any person may speak on the record.3 There

is no restriction on the topics on that may be discussed. The only limitation is that speakers may

be removed from the room for “personal, impertinent, profane, or slanderous remarks . . . .” Id.

            The law supports the position that meetings held at City Hall constitute a designated public

forum. See, e.g., City of Madison Joint Sch. Dist. No. 8 v. Wis. Pub. Emp't Relations Comm'n, 429

U.S. 167, 176 (1976) ("[W]hen the board sits in public meetings to conduct public business and

hear the views of citizens, it may not be required to discriminate between speakers on the basis of

... their speech."); see also Mesa v. White, 197 F.3d 1041, 1044 (10th Cir. 1999) (noting a lack of

dispute that a public comment period of a county commission meeting was a designated public

forum); Jones v. Heyman, 888 F.2d 1328, 1331 (11th Cir. 1989) ("[T]he city commission

designated their meeting a public forum when the commission intentionally opened it to the public

and permitted public discourse on agenda items."); Collinson v. Gott, 895 F.2d 994, 1000 (4th Cir.

1990) (Phillips, J., concurring) (“Speech at public meetings called by government officials for


3
    http://www.cityofcarrollton.com/government/city-manager-s-office/city-secretary/public-forums-hearings.


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discussion of matters of public concern is entitled to normal first amendment protections against

general restrictions or ad hoc parliamentary rulings by presiding officials."); Musso v. Hourigan,

836 F.2d 736, 742 (2nd Cir. 1988) (noting that open school board meeting is place where public

speech is usually allowed); cf. Ark. Educ. Television Comm'n, 523 U.S. at 680 (contrasting a

nonpublic forum candidate debate with "an open-microphone format"). The critical determinant

is “the government’s intent with respect to the forum,” Chiu, 260 F.3d at 346. “The state’s efforts

to exclude speakers from such traditional public forums are subject to rigorous first amendment

scrutiny.” Estiverne v. Louisiana State Bar Ass’n, 863 F.2d 371, 376 (5th Cir. 1989).

    b. The Ban Imposed on Plaintiff Is Subject to, and Fails, Strict Scrutiny.

       The ban imposed on Mr. Le Brocq through the Cease and Desist Letter is subject to, and

fails, strict scrutiny. First, the ban is a prior restraint on his ability to speak — the absolute worst,

most disfavored kind of speech restriction. The ban continues in effect as to Mr. Le Brocq and

prevents him from attending City Council meetings to engage in speech or to seek redress of his

grievances. “A prior restraint on speech exists when the government can deny access to a forum

for expression before the expression occurs.” Café Erotica of Florida, Inc. v. St. Johns Cnty., 360

F.3d 1274, 1282 (11th Cir. 2004) (internal quotation marks omitted).

       The complete exclusion of a speaker from a public forum is thus a classic form of prior

restraint. See, e.g., Southeastern Promotions, 420 U.S. at 552-53; Stacy v. Williams, 306 F. Supp.

963, 971 (N.D. Miss. 1969) (“[S]peaker regulations, by their very nature, constitute ‘prior

restraints’ upon the freedoms of speech and assembly.”). “[A]lthough prior restraints are not

unconstitutional per se, any system of prior restraint is weighted with a strong presumption of

constitutional infirmity.” Collins v. Ainsworth, 382 F.3d 529, 539 (5th Cir. 2004).




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      Second, the ban is a single-speaker ban, which is inherently suspect and, thus, subject to

strict scrutiny. Individual bans are not time, place or manner restrictions that regulate no more than

the “when, where, and how” of speech. Ward v. Utah, 398 F.3d 1239, 1254 (10th Cir. 2005)

(quoting 1 RODNEY A. SMOLLA, SMOLLA & NIMMER ON FREEDOM OF SPEECH §8.36

(2004)).

      Rather, they are efforts to control who is speaking and naturally suggest implicit content

discrimination by authorities. See Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 658 (1994)

(“[S]peaker-based laws demand strict scrutiny when they reflect the Government’s preference for

. . . what the favored speakers have to say (or aversion to what the disfavored speakers have to

say).”). “If the government excludes a speaker who falls within the class to which a [traditional or]

designated public forum is made generally available, its action is subject to strict scrutiny.” Ark.

Educ. Television Comm'n, 523 U.S. at 677 (quoting Cornelius v. NAACP Legal Def. & Educ. Fund,

473 U.S. at 802). City Hall and other public facilities are open to all, so excluding a specific speaker

must be met with strict scrutiny.

      Third, the ongoing categorical ban on Mr. Le Brocq should be seen as a content-based

restriction. It is continued in effect because he was engaging in protected speech and expressive

conduct. The ban was launched retaliation against Mr. Le Brocq’s speech directly related to City

activities, particularly as it pertains to the justice system, where Mr. Le Brocq is an officer of the

court. The ongoing ban’s clear purpose is to prevent him from speaking in a public forum about

matters of public concern.

      The banning of Mr. Le Brocq was taken as part of Defendants’ direct response to his whistle-

blowing. These circumstances raise the inference that any ostensibly content-neutral justifications

offered for those actions are pretextual (although, even worse in this case, Defendants have not




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offered any justifications). See Ridley v. Massachusetts Bay Transp. Auth., 390 F.3d 65, 86 (1st

Cir. 2004) (“Suspicion that viewpoint discrimination is afoot is at its zenith when the speech

restricted is speech critical of the government, because there is a strong risk that the government

will act to censor ideas that oppose its own.”).

      There is no question that the ban imposed on Plaintiff fails strict scrutiny. Even if

Defendants’ asserted interests were “compelling,” the ban does not so much as make a half-hearted

attempt at being narrowly tailored. Plaintiff is categorically prohibited from speaking to the City

(whomever that may be), and he is barred from entering any public part of a number of public

facilities for any purpose and for an indefinite (possibly even permanent) period of time.

      Any interest the City has in preventing Mr. Le Brocq from communicating with it (and the

City proffered none here) cannot be served by imposing such a draconian, blanket, lengthy ban on

a person. For example, if a person were nonviolently disruptive at a City Council meeting and

ejected, it would be completely absurd (and an obvious First Amendment violation) for the City

to impose a ban that prevented him from standing on the steps of the City Hall or the Municipal

Plaza Buildings and holding up a sign protesting his exclusion during future meetings.

      Further, the City has numerous less restrictive alternatives available should they become

necessary, such as evicting Mr. Le Brocq if he were unlawfully disruptive when communicating

with the City (and there are no facts on that point). See Berger v. City of Seattle, 569 F.3d 1029,

1043 (9th Cir. 2009) (en banc) (“Rather than requiring all speakers to pre-register with the

government as a prerequisite to engaging in communicative activity, the City could simply enforce

its existing rules against those who actually exhibit unwanted behavior.”). Also, limited exclusions

from City facilities for an hour, a day, or even, in a proper case, several days as a “cooling-off”




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period could effectively serve the City’s interests in preventing disruption of city business and

promoting public safety while proscribing substantially less protected activity.

   c. Defendants’ Ban Fails Even Intermediate Scrutiny.

       As stated earlier, the traditional cases splitting hairs over the nature of the forum dictating

the standard of review bear little relevance in this case, where the complained of violation is a

complete and total ban of Mr. Le Brocq from the property in question. See, e.g., Content and

Viewpoint Discrimination: Malleable Terms Beget Malleable Doctrine, 13 Comm.L.&Pol'y 131,

180 (2008) (examining First Amendment case law and recommending "[a] more fruitful approach

distinguishing content from viewpoint [which] examines the case facts in context"). That is

because, even if Defendants’ exclusion of Mr. Le Brocq from limited public forums was a content-

neutral speech restriction, it still is unconstitutional because it is not narrowly tailored to advance

a substantial governmental interest and fails to leave open ample alternative channels of

communication. See Supple, 969 F.2d at 118 (describing intermediate scrutiny applicable to

content-neutral regulations of speech). Again, it is necessary to emphasize that Defendants have

not offered any reason for their ban, let alone any content-neutral reasons, further imperiling their

position.

       A content-neutral regulation is “narrowly tailored,” if it does not “burden substantially

more speech than is necessary to further the government’s legitimate interests.” Ward v. Rock

Against Racism, 491 U.S. 781, 799 (1989). “At a minimum, a regulation cannot be narrowly

tailored unless the cost to speech is ‘carefully calculated’ and the fit between the burden and the

state interest is ‘reasonable.’” Supple, 969 F.2d at 118 (quoting Bd. of Trs. of State Univ. of N.Y.

v. Fox, 492 U.S. 469, 481 (1989)). “The government bears the burden of establishing that the




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regulations are reasonable. Even a legitimate government interest cannot justify a restriction if the

restriction accomplishes that goal at an inordinate cost to speech.” Id. (citation omitted).

       Although the narrow tailoring requirement for content-neutral speech restrictions is not a

least-restrictive-alternative test, a regulation must nonetheless not be “substantially broader than

necessary to achieve the government’s interest.” Rock Against Racism, 491 U.S. at 800, and

generally without “obvious, less burdensome alternatives,” Berger, 569 F.3d at 1041.

       Assuming, without conceding, that the governmental interests for the ban from

communicating with the city, and thereby, attending and speaking at City Council meetings on city

property effected through the Cease and Desist Letter are substantial, banning a speaker from City

Hall permanently for all purposes based on nothing besides a nonviolent, non-disruptive e-mail

message intimately associated with protected expressive activity fails Rock Against Racism’s test.

Banning a speaker from City Hall simply because he sought to acquire public information and

speak about matters of public concern, without any nexus to disruption to city business or harm to

city property whatsoever, quite simply fails to advance any City interest in any conceivable

fashion.

       Instead, this ban is patently unreasonable in every way. The burdens it imposes — a

complete ban on Mr. Le Brocq’s presence and speech, indefinitely and presumably permanently

— are out of all proportion to any undeclared City interest. The stark mismatch between any

government interest and harsh burden imposed shows the ban was imposed without careful

consideration of the ban’s “cost to speech.”

       Also, the ban does not leave Mr. Le Brocq ample alternative channels to convey his

message because it precludes him from accessing City officials with discretionary authority over

his ban. “[A]n alternative is not ample if the speaker is not permitted to reach the intended




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audience.” Berger, 569 F.3d at 1049 (internal quotation marks omitted). City Hall is the daily

workplace of many of the officials who are most of Mr. Le Brocq’s intended audience. It is also

where the meetings are held in which he desires to voice his concerns so more of the public can be

apprised of the City’s wrongdoings. Practically speaking, there is no viable alternative forum

within the city Plaintiff may utilize.


   II.       Defendants’ De Facto Cease and Desist Letter Policy Is Facially Unconstitutional
             Due to Lack of Objective Standards, Vagueness, and Overbreadth

   Defendants’ Cease and Desist Letter policy vests discretion in city officials to ban an individual

from communication with any or all city employees, officials, any or all city property, even

permanently, based solely on a single official’s subjective view. That policy suffers from at least

three constitutional flaws.

         First, it is a prior restraint because it gives public officials discretion to “forbid [citizens]

the use of public places to say what they wanted to say.” See Southeastern Promotions, 420 U.S.

at 552-53. Such restraints have been “invariably” condemned when “the exercise of such authority

was not bounded by precise and clear standards.” Id. They also face a “strong presumption of

constitutional infirmity.” Collins, 382 F.3d at 539. To curtail the risk that arbitrary application of

a speech restriction will “becom[e] a means of suppressing a particular point of view,” a prior

restraint on expressive activity “must contain ‘narrow, objective, and definite standards’” to

channel the discretion of the official charged with its enforcement. Forsyth Cnty. v. Nationalist

Movement, 505 U.S. 123, 130-31 (1992) (quoting Heffron v. Int’l Soc’y for Krishna

Consciousness, Inc., 452 U.S. 640, 649 (1981), and Shuttlesworth, 394 U.S. at 150-51); accord

SEIU, 595 F.3d at 596.




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       Second, the policy is unconstitutionally vague. A government regulation of speech “must

be drawn with some specificity” so as to “provide ‘fair notice’ so that its prohibitions may be

avoided by those who wish to do so.” SEIU, 595 F.3d at 596-97 (quoting Grayned v. City of

Rockford, 408 U.S. 104, 110-12 (1972)). The City’s lawyers have adamantly refused to provide a

written policy to Mr. Le Brocq despite his request, stating whom, if any, of the Carrollton City

councilmembers or Mayor, that Mr. Brandt and his firm represents.

       Third, the policy is unconstitutionally overbroad. A speech restriction is “subject to facial

review and invalidation” under the overbreadth doctrine “in cases where the ordinance sweeps too

broadly, penalizing a substantial amount of speech that is constitutionally protected.” Forsyth

Cnty., 505 U.S. at 129-30.

       Defendants’ de facto policy lacks anything like the required narrow, objective, and definite

channeling standards required of a system of prior restraint. The standard applied before issuing

the notice is completely subjective – so much so that there is not even a written policy guiding the

determination. There are also no guidelines telling officials how to decide how much city property

a notice recipient should be banned from. The standards for determining a ban’s duration are also

impermissibly indefinite. Because of these deficiencies, the policy’s scheme inevitably “involves

appraisal of facts, the exercise of judgment, and the formation of an opinion” without sufficiently

“narrow, objective, and definite standards,” making “the danger of censorship and of abridgement

of our precious First Amendment freedoms . . . too great to be permitted.” Forsyth Cnty., 505 U.S.

at 131 (internal quotation marks omitted).

       The policy’s subjectivity and lack of standards also makes it unconstitutionally vague.

Citizens like Mr. Le Brocq have no fair notice of whether their conduct will subject them to a ban

from communicating with City Council or entering City Hall and other city property to speak about




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concerns regarding Carrollton’s justice system. The chilling effect of the policy extends to all

citizens who may be dissuaded from whistle-blowing or speaking on controversial public matters

in the future. Indeed, that appears to be the intended result of the policy’s enforcement.

          Finally, the policy is overbroad because it sweeps in a substantial amount of protected

speech by entirely precluding Mr. Le Brocq from speaking anywhere in the area of exclusion at

any time, regardless of whether the banned speech has any nexus to reality.

          Further, the overbroad policy also suppresses core petitioning activities protected under the

First Amendment. The policy permits barring recipients from early voting, meeting their elected

Council representatives, and attending Council meetings for an indefinite period of time, possibly

even permanently. The First Amendment forbids such dramatic overbreadth in policies that

impinge on core protections for expressive and petitioning activities.


   III.      Plaintiff Will Suffer Irreparable Injury if the Defendants are not Enjoined from
             the Indefinite Ban on Communication with the City.

   It is well-established that an injury is irreparable only “if it cannot be undone through monetary

remedies.” Dennis Melancon, Inc., 703 F.3d at 279 (quoting Canal Authority v. Callaway, 489

F.2d 567, 575 (5th Cir.1974)). Because the City has caused, and continues to cause, damage to Mr.

Le Brocq by denying his fundamental First Amendment rights to free speech, to peaceable

assembly, and to petition the government, Mr. Le Brocq has suffered, and will continue to suffer,

irreparable injury in the absence of an injunction.

          “The loss of First Amendment freedoms for even minimal periods of time constitutes

irreparable injury justifying the grant of a preliminary injunction.” Palmer ex rel. Palmer v.

Waxahachie Indep. Sch. Dist., 579 F.3d 502, 506 (5th Cir. 2009) (internal quotation marks

omitted); see also CHARLES ALAN WRIGHT, ET AL., FEDERAL PRACTICE &




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PROCEDURE §2948.1 (2d ed. 1995) (“When an alleged deprivation of a constitutional right is

involved, most courts hold that no further showing of irreparable injury is necessary.”).

         Defendants’ enforcement of the Cease and Desist Letter issued to Plaintiff, indefinitely

banning him from communicating and entering a number of City facilities to express his voice, is

an unconstitutional prior restraint on his speech in traditional public forum in violation of the First

Amendment. The ban patently fails the narrow tailoring and least-restrictive alternative

requirements of content-based speech restrictions in such a forum, or even the narrow tailoring

and ample alternatives requirements necessary to survive intermediate scrutiny as ostensibly

content-neutral regulations of speech. Defendants’ undefined and vague policy respecting issuance

of such letters is an unconstitutional prior restraint that fails to provide any narrow, objective, and

definite guidelines to channel the discretion to exclude speakers from traditional public fora.

         Mr. Le Brocq has suffered, and unless this Court issues a preliminary injunction, will

continue to suffer irreparable injury from the denial of his fundamental First Amendment rights.

Moreover, the continued adverse impact of the ban on Mr. Le Brocq’s ability to conduct his law

practice freely, without impediments from the City, including the police presence at his house,

cannot be measured, but most assuredly causes him an immediate and irreparable injury which

cannot be readily measured, if ever at all, in economic damages.


   IV.      The Continuing Irreparable Injury to Plaintiff Outweighs Any Potential Harm
            to Defendants’ Interest from the Limited Relief Sought.

   The balance of equities strongly favors granting the preliminary injunctive relief Mr. Le Brocq

seeks. Mr. Le Brocq will suffer irreparable injury in the form of the continued denial of his First

Amendment rights and harassment in his personal life if an injunction is not granted, whereas there




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is no substantial risk that the tailored relief Mr. Le Brocq seeks will impose any harm on

Defendants.

         These features of the requested temporary relief balance the importance of Mr. Le Brocq’s

First Amendment rights with Defendants’ interests in ensuring public safety and health and

continuity of city business, and they demonstrate that the injury to Mr. Le Brocq from denial of

injunctive relief would far outweigh the theoretical harm to Defendants from its grant.


   V.       Granting the Requested Relief Would Serve the Public Interest.

         Granting the requested injunctive relief “will not undermine the public interest, but will

serve it, in that it will be in protection of First Amendment rights without any significant

detrimental impact” on the public generally. Smith v. Tarrant Cnty. Coll. Dist., 670 F. Supp. 2d

534, 539 (N.D.Tex. 2009). The public interest is served by ensuring that government officials act

in compliance with their constitutional obligations; in contrast, the public interest is undermined

by allowing unconstitutional actions by government officials to stand. See Valley v. Rapides Parish

Sch. Bd., 118 F.3d 1047, 1056 (5th Cir. 1997).


   VI.      Brandt’s Letter Was a Threat to Scare Mr. Le Brocq from Exposing the City

        Furthermore, neither the City nor its lawyers, can argue that the letter was even remotely

related to the now-disposed Mandamus action in the Texas Court of Criminal Appeals. Mr. Le

Brocq did not talk about his client, did not discuss the merits of the pending case, and did not

address his issues to the City Attorney or to the Municipal Court. Instead, he addressed it to the

very people that put those individuals into office—the City Council members.

        Mr. Brandt violated the Texas Rules of Disciplinary Conduct by threatening a lawyer to

gain advantage in a civil matter, which in this case was the suit for Mandamus. It did not work.



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Furthermore, because Mr. Brandt stated that Mr. Le Brocq unequivocally violated the Texas Rules

of Disciplinary Conduct (which Mr. Brandt cannot genuinely believe), Mr. Brandt, as a licensed

Texas attorney, had the duty to report Mr. Le Brocq to the State Bar of Texas Office of Chief

Disciplinary Counsel. As of the filing of this motion, more than a month after Mr. Le Brocq’s

supposed violation, Mr. Brandt has not filed anything with the State Bar of Texas. This makes

sense because he has no reason to, and he knew his threat was baseless from its inception.

       It is worth repeating that neither Mr. Brandt nor his law firm, after Mr. Le Brocq demanded

a letter or appearance indicating their representation of the City of Carrollton, ever provided one.

Mr. Brandt and his firm did not, and do not, represent the individual members of the Carrollton

City council members, the Mayor, or the entire municipality as a whole. They were employed,

apparently, to handle a single appellate matter and nothing more.4 Meredith Ladd, the City

Attorney for the City of Carrollton, communicated the City’s position:


        “Ladd stated that she was ‘pleased to hear’ that Le Brocq believes the issues in his
        petition have been resolved and that it looked forward to receiving his request to
        dismiss the petition, ‘thereby relieving the City of the need to continue to employ
        an outside law firm in this matter.’ Ladd also said that Le Brocq had offered to
        discuss settlement terms regarding the petition but that he had yet to make a motion
        to dismiss the petition and hadn’t yet asked the city for a “specific settlement
        demand.”5

        Of course, Ladd’s statement on behalf of the City of Carrollton was false, and Carrollton

taxpayers needlessly spent tens of thousands of dollars in fighting Mr. Le Brocq, even after he



4
  Mr. Le Brocq filed a Public Information Request to obtain the retainer agreement between the defendant law firm
and City. He was told to pay $432.00 for the records. Mr. Le Brocq paid this exorbitant amount of money and was
told by the City’s secretary that he would receive the documents in 2-3 hours. Once Mr. Le Brocq returned to his
office, the same secretary called, stating they would have to refund Mr. Le Brocq his money because they would not
be tendering the documents that Mr. Le Brocq was just informed he would receive shortly.
5
  https://www.dallasnews.com/news/carrollton/2018/05/30/attorney-sues-carrollton-use-private-law-firm-resolve-
dispute-files-city-says-case-no-merit


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informed the City he would dismiss his petition. Relevant here is the fact that Ms. Ladd spoke on

behalf of the City of Carrollton. Significantly, Ladd did not defer to “the City’s lawyers” and the

statement was not made by the “City’s lawyers.” This is because Mr. Brandt and his firm were

hired to deal with the Mandamus petition and nothing more. They were not hired to suppress Mr.

Le Brocq’s free speech, albeit that is what they did. Defendants cannot escape their ill-motives

directed at Mr. Le Brocq. Defendants conduct is indefensible and offensive to the justice system.


       In summary, banning the Plaintiff forever from communicating with the City and banning

Mr. Le Brocq from attending City Council meetings at City Hall constitutes a ban from public fora

to which this Court must apply strict scrutiny to ensure the protection of Mr. Le Brocq’s right to

free speech. Applying strict scrutiny results in the conclusion that the ban set out in the Cease and

Desist Letter violates Mr. Le Brocq’s fundamental First and Fourteenth Amendment rights.


                                    PRAYER FOR RELIEF

       For the foregoing reasons, Mr. Le Brocq respectfully requests that this Court issue the

proposed temporary restraining order barring Defendants from enforcing the unconstitutional

communication ban they have imposed on him and any and all other just and proper relief.




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Date: July 6, 2018                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on July 6, 2018, I electronically submitted the foregoing document for filing

with the United States District Court for the Northern District of Texas using the electronic case

filing system of the Court, and that all counsel of record will be provided a “Notice of Electronic

Filing” and access to this document.

                                                     /s/ Stephen Le Brocq




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